  Case 19-10562      Doc 11    Filed 04/17/19 Entered 04/17/19 14:24:43        Desc Main
                                 Document     Page 1 of 5


                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                        )   Chapter 11
                                              )
BCause LLC,                                   )   Case No. 19-10731
                                              )
                     Debtor.                  )   Honorable Janet S. Baer
                                              )   _______________________
In re:                                        )   Chapter 11
                                              )
BCause Mining LLC,                            )   Case No. 19-10562
                                              )
                     Debtor.                  )   Honorable Janet S. Baer
                                              )

           NOTICE OF EMERGENCY MOTION TO FILE SEALED DOCUMENT

       PLEASE TAKE NOTICE that on April 18, 2019, at 9:30 a.m. or as soon thereafter as
counsel may be heard, we shall appear before the Honorable Janet S. Baer, Everett McKinley
Dirksen United States Courthouse, 219 South Dearborn Street, Courtroom 615, Chicago, Illinois
60604, or any other Judge sitting in her place or stead, and then and there present Wesco’s
Emergency Motion to File Sealed Document, a copy of which is herewith served upon you.

Dated: April 17, 2019                             Respectfully submitted,

                                                  WESCO DISTRIBUTION, INC.,

                                                  /s/ David A. Agay
                                                  David A. Agay (ARDC No. 6244314)
                                                  Shara Cornell (ARDC No. 6319099)
                                                  McDonald HOPKINS LLC
                                                  300 North LaSalle Street, Suite 1400
                                                  Chicago, Illinois 60654
                                                  Telephone: (312) 280-0111
                                                  Facsimile: (312) 280-8232
                                                  dagay@mcdonaldhopkins.com
                                                  scornell@mcdonaldhopkins.com




{8039579:2 }
  Case 19-10562        Doc 11     Filed 04/17/19 Entered 04/17/19 14:24:43           Desc Main
                                    Document     Page 2 of 5




                                 CERTIFICATE OF SERVICE

         I, David A. Agay, hereby certify that, on April 17, 2019, I caused a copy of the foregoing
Notice of Emergency Motion and the following Emergency Motion to be electronically filed
with the Clerk of Court using the Electronic Case Filing System, which automatically served all
parties who are deemed to have consented to electronic service.

                                                      /s/ David A. Agay




{8039579:2 }                                     2
  Case 19-10562        Doc 11    Filed 04/17/19 Entered 04/17/19 14:24:43           Desc Main
                                   Document     Page 3 of 5



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                            )   Chapter 11
                                                  )
BCause LLC,                                       )   Case No. 19-10731
                                                  )
                       Debtor.                    )   Honorable Janet S. Baer
                                                  )   _______________________
In re:                                            )   Chapter 11
                                                  )
BCause Mining LLC,                                )   Case No. 19-10562
                                                  )
                       Debtor.                    )   Honorable Janet S. Baer
                                                  )

                 EMERGENCY MOTION TO FILE SEALED DOCUMENT

         WESCO Distribution, Inc., (“WESCO”), by and through its undersigned counsel,

pursuant to sections 105(a) and 107(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et

seq. (the “Bankruptcy Code”), Rule 9018 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Rule 5005-4 of the Local Rules of the United States Bankruptcy Court

for the Northern District of Illinois (the “Local Rules”), hereby submits its Emergency Motion

for an Order authorizing it to file under seal Exhibit L to WESCO’s Preliminary Objections to

Debtors’ Cash Collateral and Payroll Motions (Case No. 19-17031, D.I. 11 and Case No. 19-

10562, D.I 9) and in support states as follows:

                                      JURISDICTION & VENUE

         1. This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

         2. Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b).

         3. The statutory bases for the relief requested herein are sections 105(a) and 107(b) of

the Bankruptcy Code, Bankruptcy Rule 9018 and Local Rule 5005-4.

{8039579:2 }                                      3
  Case 19-10562        Doc 11     Filed 04/17/19 Entered 04/17/19 14:24:43         Desc Main
                                    Document     Page 4 of 5




                                              BACKGROUND

         4. BCause Mining LLC (“BCause Mining”) filed its bankruptcy petition on April 11,

2019 (Case No. 19-10562).

         5. With its chapter 11 petition, BCause Mining filed motions to use cash collateral (D.I

3) and to provide adequate assurance to utilities (D.I. 4).

         6. Subsequently, on April 12, 2019, BCause, LLC (“BCause LLC”) filed its bankruptcy

petition (Case No. 19-10731), along with its own motion to use cash collateral (D.I. 5) and a

motion to pay prepetition payroll (D.I. 6).

         7. On April 17, 2019, WESCO filed its Preliminary Objections to Debtors’ Cash

Collateral and Payroll Motions (Case No. 19-17031, D.I. 11 and Case No. 19-10562, D.I. 9) (the

“Objections”) on April 17, 2019.

         8. Exhibit L to WESCO’s Objections is covered by a confidentiality agreement between

the Debtors and WESCO.

         9. WESCO’s counsel was informed by the Debtors’ counsel that the Debtors’ do not

object to the filing under seal of Exhibit L to WESCO’s objections.

         WHEREFORE, WESCO respectfully requests that the Court enter an order substantially

in the form attached, allowing it to file under seal, Exhibit L to WESCO’s Preliminary

Objections to Debtors’ Cash Collateral and Payroll Motions and grant such as other relief as the

Court might deem just or necessary.




{8039579:2 }                                      4
  Case 19-10562     Doc 11   Filed 04/17/19 Entered 04/17/19 14:24:43     Desc Main
                               Document     Page 5 of 5



Dated: April 17, 2019
                                             WESCO DISTRIBUTION, INC.,

                                             /s/ David A. Agay
                                             David A. Agay (ARDC No. 6244314)
                                             Shara Cornell (ARDC No. 6319099)
                                             McDonald HOPKINS LLC
                                             300 North LaSalle Street, Suite 1400
                                             Chicago, Illinois 60654
                                             Telephone: (312) 280-0111
                                             Facsimile: (312) 280-8232
                                             dagay@mcdonaldhopkins.com
                                             scornell@mcdonaldhopkins.com




{8039579:2 }                             5
